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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

TEREZE L. FENDERSON,                                  )
                                                      )
                      Petitioner,                     )
                                                      )
vs.                                                   )    CIVIL NO. 19-CV-1025-NJR
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
                      Respondent.                     )

      GOVERNMENT’S RESPONSE TO PETITIONER’S MOTION TO VACATE, SET
       ASIDE, OR CORRECT SENTENCE PURSUANT TO 28 U.S.C. SECTION 2255

        COMES NOW the United States of America, by and through its attorneys, Steven D.

Weinhoeft, United States Attorney for the Southern District of Illinois, and Amanda M. Fischer,

Assistant United States Attorney for said District, and submits this Response in Opposition to

Petitioner Tereze L. Fenderson’s Motion to Vacate, Set Aside, or Correct his Sentence (hereinafter

the Petition) pursuant to Title 28, United States Code, Section 2255. For the reasons that follow,

this Court should deny the Petition outright without a hearing and with prejudice.

                                      PROCEDURAL HISTORY

        On June 7, 2018, a grand jury for the Southern District of Illinois returned a Second

Superseding Indictment charging Tereze L. Fenderson (Fenderson) with Felon in Possession of a

Firearm, in violation of 18 U.S.C. §922(g)(1) (Count 1); Felon in Possession of a Firearm and

Firearm Ammunition, in violation of 18 U.S.C. §922(g)(1) and 18 U.S.C. §2 (Count 2); Attempting

to Retaliate Against a Witness, in violation of 18 U.S.C. §1513(b)(2) and 18 U.S.C. §2 (Count 3);

Discharge of a Firearm in Connection with a Crime of Violence, in violation of 18 U.S.C.

§924(c)(1)(A) and 18 U.S.C. §2 (Count 4); and Discharge of a Firearm in Connection with a Drug

Trafficking Crime, in violation of 18 U.S.C. §924(c)(1)(A) and 18 U.S.C. §2 (Count 5).1 Second


1
 Fenderson was initially charged by Indictment on May 16, 2017 (Crim. Doc. 1) and Superseding Indictment on
January 4, 2018 (Crim. Doc. 29).
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Superseding Indictment (Crim. Doc. 45) (attached as Exhibit A). 2 Fenderson pled guilty to Counts

1, 3, and 4 on October 18, 2018. Min. Entry (Crim. Doc. 64) (attached as Exhibit B). At the time

of his plea, Fenderson entered into a plea agreement with the United States which stated that the

parties anticipated that Fenderson would have a total offense level under the Guidelines of 29 and

would fall into criminal history category III, resulting in a Guidelines range of 108-135 months.

Plea Agreement, at 4 (Crim. Doc. 65) (attached as Exhibit C). Further, the parties agreed that the

guidelines imprisonment range for Count 4 is the minimum term of imprisonment required by the

statute, which was an additional 120 months. Id. Fenderson agreed not to seek a sentence below

the low end of the Guidelines range ultimately determined by the Court, and the United States

agreed to recommend a sentence within that range. Id. at 8. A federal probation officer prepared

a revised presentence investigation report (PSR) prior to sentencing. The officer found that

Fenderson’s total offense level was 26, thus resulting in a Guidelines range of 92-115 months, to

be followed by 120 months on Count 4. Second Revised PSR at 11-13, 25-26 (Crim. Doc. 97). 3

On March 7, 2019, the Court sentenced Fenderson to a total sentence of 212 months, consisting of

80 months as to each of Counts 1 and 3 to be served concurrently, 120 months as to Count 4 to be

served consecutively to the terms imposed as to Counts 1 and 3, and 12 months as to the 18 U.S.C.

§3147 enhancement to be served consecutively to the terms imposed as to Counts 1, 3, and 4.

Judgment (Crim. Doc. 101) (attached as Exhibit D). Fenderson did not file a direct appeal.

         Fenderson timely filed the instant Petition pursuant to 28 U.S.C. § 2255 on September 19,

2019. Petition (Doc. 1). In the petition, Fenderson collaterally attacks his sentence, claiming one


2
 For purposes of this Response, any citations to documents in the criminal case record will be named, followed by
“Crim.” and the document number. Any citations to documents to the instant civil case record, will contain the
document number only.
3
 Due to the sealed nature of the PSR and because Bureau of Prisons (BOP) regulations prohibit Fenderson from
personally possessing a copy of that document for institutional security reasons, the United States is not attaching a
copy of that document as an exhibit to this Response. However, it is available in the underlying criminal case record.
Additionally, the undersigned understands that Fenderson may review his PSR at any time through his BOP case
manager or counselor.

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allegation of ineffective assistance of counsel for failure to properly apply the categorical approach

in determining whether 18 U.S.C. §1513(b)(2) is a crime of violence for purposes of 18 U.S.C.

§924(c). Id. at 4.

                                      LEGAL STANDARDS

A.     General Standard

       A petition brought under 28 U.S.C. § 2255 allows a prisoner to attack his sentence on the

ground that “the sentence was imposed in violation of the Constitution or laws of the United States,

or that the court was without jurisdiction to impose such sentence, or that the sentence was in

excess of the maximum authorized by law, or is otherwise subject to collateral attack.” 28 U.S.C.

' 2255. “Habeas corpus relief under 28 U.S.C. ' 2255 is reserved for extraordinary situations.”

Kafo v. United States, 467 F.3d 1063, 1068 (7th Cir. 2006). There are “significant procedural

hurdles” to consideration of a petitioner's habeas claim. Bousley v. United States, 523 U.S. 614,

615 (1998). Collateral relief is appropriate only when the error is “jurisdictional, constitutional, or

is a fundamental defect which inherently results in a complete miscarriage of justice.” Barnickel

v. Unites States, 113 F.3d 704, 705 (7th Cir. 1997).

       Habeas relief under ' 2255 is not a substitute for direct appeal. Fountain v. United States,

211 F.3d 429, 433 (7th Cir. 2000). Thus, “[c]laims not raised on direct appeal are barred from

collateral review unless upon review, we have been convinced that a failure to consider the issue

would amount to a fundamental miscarriage of justice.” Id. at 433. Specifically, a ' 2255 motion

“cannot raise: (1) issues that were raised on direct appeal, absent a showing of changed

circumstances; (2) nonconstitutional issues that could have been but were not raised on direct

appeal; and (3) constitutional issues that were not raised on direct appeal, unless the section 2255

petitioner demonstrates cause for the procedural default as well as actual prejudice from the failure

to appeal.” Belford v. United States, 975 F.2d 310, 313 (7th Cir. 1992) (emphasis in original),

overruled on other grounds by Castellanos v. United States, 26 F.3d 717 (7th Cir. 1994).

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B.     Ineffective Assistance of Counsel

       As evidenced by the instant Motion, by far the most common way a petitioner seeks to

avoid the procedural proscriptions of ' 2255 is by casting claims as ones alleging ineffective

assistance of counsel which, except in limited circumstances, are not subject to dismissal based

upon procedural default. Fuller v. United States, 398 F.3d 644, 650 (7th Cir. 2005). Ineffective

assistance of counsel claims “may be brought in a collateral proceeding under ' 2255, whether or

not the petitioner could have raised the claim on direct appeal.” Massaro v. United States, 538 U.S.

500, 504 (2003). In fact, the Seventh Circuit has identified ' 2255 motions as a more appropriate

venue than direct appeal for raising ineffective assistance of counsel claims, as the opportunity to

adequately “develop the factual predicate for the claim” arises independent of the trial record. Id.

       If a ' 2255 motion claiming ineffective assistance of counsel survives preliminary review

and is considered on its merits, then a district court evaluates the claim under the two-pronged

Strickland test. McDowell v. Kingston, 497 F.3d 757, 761 (7th Cir. 2007) (citing Strickland v.

Washington, 466 U.S. 668, 694 (1984)). There is a heavy burden of proof on a defendant asserting

an ineffective assistance of counsel claim. Harris v. Reed, 894 F.2d 871, 874 (7th Cir. 1990). “The

benchmark for judging any claim to ineffectiveness must be whether counsel’s conduct so

undermined the proper functioning of the adversarial process that the trial cannot be relied on as

having produced a just result.” Strickland, 466 U.S. at 686. Under Strickland, the petitioner must

prove: 1) that his attorney's performance fell below an objective standard of reasonableness; and

2) that the attorney's deficient performance prejudiced the defendant such that “there is a

reasonable probability that, but for counsel's unprofessional errors, the result of the proceeding

would have been different.” McDowell, 497 F.3d at 761. If the Court finds either the performance

or the prejudice component of the ineffective assistance claim deficient under the Strickland test,

then there is no need to consider the sufficiency of the other component. United States v. Slaughter,



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900 F.2d 1119, 1124 (7th Cir. 1990). “A defendant's failure to satisfy either prong is fatal to his

claim.” Ebbole v. United States, 8 F.3d 530, 533 (7th Cir. 1993).

       1.      Review of Attorney Performance

       The Court's review of attorney performance is “‘highly deferential,’ with the underlying

assumption that ‘counsel's conduct falls within the wide range of reasonable professional

assistance.’” United States v. Holman, 314 F.3d 837, 840 (7th Cir. 2002). Counsel is “strongly

presumed to have rendered adequate assistance and to have made significant decisions in the

exercise of his or her reasonable professional judgment.” Cooper v. United States, 378 F.3d 638,

641 (7th Cir. 2004). The Court must presume that counsel made reasonable strategic choices unless

the petitioner produces evidence rebutting that presumption. Id. Hence, it is “not easy for a

petitioner to show that his counsel’s performance was objectively ineffective, as . . . ‘[t]he

reasonableness of counsel’s performance is to be evaluated from counsel’s perspective at the time

of the alleged error and in light of all the circumstances, and the standard of review is highly

deferential.’” Hartjes v. Endicott, 456 F.3d 786, 790 (7th Cir. 2006), quoting Kimmelman v.

Morrison, 477 U.S. 365, 381 (1986). In order to establish that counsel’s performance was

deficient, the defendant must show errors so serious that counsel was not functioning as the

“counsel” guaranteed by the Sixth Amendment. Hartjes, 456 F.3d at 790.

       2.      Prejudicial Effect of Attorney Performance

       Proving that deficient performance of counsel actually prejudiced the defense requires a

showing of the “reasonable probability that, but for counsel’s unprofessional errors, the result of

the proceeding would have been different.” Benefiel v. Davis, 357 F.3d 655, 661 (7th Cir. 2004);

see also Williams v. Taylor, 529 U.S. 362, 363 (2000). This test is also “highly deferential to

counsel and presumes reasonable judgment and effective trial strategy.” Hays v. United States, 397

F.3d 564, 568 (7th Cir. 2005). The defendant must demonstrate that counsel’s error actually had

an adverse effect. Strickland, 466 U.S. at 693. However, “[n]ot every adverse consequence of

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counsel’s choices is ‘prejudice’ for constitutional purposes.” United States v. Springs, 988 F.2d

746, 749 (7th Cir. 1993). Counsel’s conduct must be shown to have “so undermined the proper

functioning of the adversarial process that the trial cannot be relied on as having produced a just

result.” Cooper, 378 F.3d at 642.

                                         ARGUMENT

A.     Fenderson couches his claim in terms of ineffective assistance of counsel in an attempt
       to circumvent his end of his Plea Agreement bargain, while holding the United States
       to its end of the bargain and the recommendations and concessions it made, and his §
       2255 motion should be viewed accordingly.

       Fenderson pleaded guilty pursuant to a written plea agreement in which he waived his

appeal and collateral review rights. The Plea Agreement reads in relevant part:

              4.       Defendant understands that by pleading guilty, Defendant is
       waiving all appellate issues that might have been available if Defendant had
       exercised the right to trial.

              5.      Defendant is aware that Title 18, Title 28, and other provisions of
       the United States Code afford every defendant limited rights to contest a conviction
       and/or sentence through appeal or collateral attack. However, in exchange for the
       recommendations and concessions made by the United States in this Plea
       Agreement, Defendant knowingly and voluntarily waives the right to seek
       modification of or contest any aspect of the conviction or sentence in any type
       of proceeding, including the manner in which the sentence was determined or
       imposed, that could be contested under Title 18 or Title 28, or under any other
       provision of federal law, except that if the sentence imposed is in excess of the
       Sentencing Guidelines as determined by the Court (or any applicable statutory
       minimum, whichever is greater), Defendant reserves the right to appeal the
       substantive reasonableness of the term of imprisonment. . . .

                6.    Defendant’s waiver of the right to appeal or bring collateral
       challenges shall not apply to: 1) claims of ineffective assistance of counsel; 2) any
       subsequent change in the interpretation of the law by the United States Supreme
       Court or the United States Court of Appeals for the Seventh Circuit that is declared
       retroactive by those Courts and that renders Defendant actually innocent of the
       charges covered herein; and 3) appeals based upon Sentencing Guideline
       amendments that are made retroactive by the United States Sentencing Commission
       (see U.S.S.G. § 1B1.10). The United States reserves the right to oppose such claims
       for relief.

Plea Agreement, at 10-11 (Doc. 65).          Additionally, the Defendant made the following

acknowledgement in his Plea Agreement:

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               1.    Defendant is fully satisfied with the representation received from
       defense counsel. Defendant has reviewed the United States’ evidence and has
       discussed the United States’ case, possible defenses and defense witnesses with
       defense counsel. Defendant’s attorney has completely and satisfactorily explored
       all areas which Defendant has requested relative to the United States’ case and
       possible defenses. Defendant acknowledges having had adequate opportunity to
       discuss the potential consequences of the guilty plea with defense counsel.
       Defendant has had all of Defendant’s questions answered by defense counsel.
       Defendant agrees that this Plea Agreement is not the result of any threats, duress or
       coercion. Defendant enters this guilty plea freely, voluntarily, and knowingly,
       because Defendant is in fact guilty.

Plea Agreement, at 15 (Doc. 65).

       Waivers of appeal in criminal cases are generally valid and binding in this circuit. United States

v. Emerson, 349 F.3d 986, 988 (7th Cir. 2003); United States v. Mason, 343 F.3d 893, 893-894 (7th Cir.

2003); United States v. Chapa, 602 F.3d 865, 868 (7th Cir. 2010). The government is aware that

waivers of appeal do not foreclose appellate review in every instance, particularly when a defendant

raises the specter of ineffective assistance of counsel and prosecutorial misconduct. United States v.

Sines, 303 F.3d 793, 798 (7th Cir. 2002); Chapa, at 868. In this case, Fenderson totally ignores the

promises he made, the bargain he struck, and the better-than-bargained-for result he obtained. He

never claims that counsel was ineffective in negotiating the agreed upon recommendation of sentence

or the other benefits extended to him. His claims should be viewed accordingly.

B.     Petitioner’s trial counsel’s performance did not fall below an objective standard of
       professional reasonableness.

       Petitioner’s trial counsel’s performance was not constitutionally deficient due to his failure

to raise the novel, and ultimately meritless, argument that petitioner now advances. A lawyer,

including one representing a criminal defendant, has an ethical obligation to be truthful and

forthright with the court and has “no duty to make a frivolous argument,” United States v. Rezin,

322 F.3d 443, 446 (7th Cir. 2003); see also Faucett v. United States, 872 F.3d 506, 512 (7th Cir.

2017) (“Refraining from a meritless sentencing argument cannot be characterized as objectively

unreasonable.”). He should not “to protect him or herself against allegations of inadequacy,

“‘waste the court's time with futile or frivolous motions.’” United States v. Bosch, 584 F.2d 1113,
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1121-22 (1st Cir. 1978) (quoting United States v. Wright, 573 F.2d 681, 684 (1st Cir. 1978)).

Indeed, a lawyer is barred by the rules of professional ethics from doing so. See Smith v. Robbins,

528 U.S. 259, 272 (2000). Under those rules, “[a] lawyer shall not bring or defend a proceeding,

or assert or controvert an issue therein, unless there is a basis . . . for doing so that is not frivolous.”

Rule 3.1 of the Model Rules of Professional Conduct.

        As more thoroughly discussed in Section C, infra, the argument that Petitioner suggests his

trial counsel should have advanced is without merit. Thus, Petitioner’s trial counsel did not act

outside of the objective bounds of professional reasonableness in failing to raise it. The instant

Motion should thus be dismissed, as “failure to satisfy either prong [of the Strickland test] is fatal

to [an ineffective assistance] claim.” Ebbole, 8 F.3d at 533.

        The Government acknowledges that the argument may not have been frivolous, as one

other court has since agreed with the position advanced by petitioner. However, the failure of

petitioner’s counsel to raise this argument in the face of persuasive case law supporting the

application of 18 U.S.C. § 924(c) based on petitioner’s conviction under 18 U.S.C. § 1513(b) was

not clearly unreasonable. It was not clearly unreasonable for petitioner’s trial counsel to believe

that his conviction for shooting a witness constituted a crime of violence. In fact, there was case

law supporting the petitioner’s disposition at the time of his plea and sentencing hearings. In

United States v. Harris, the Eastern District of Wisconsin denied a motion to dismiss on this same

ground that 18 U.S.C. § 1513(b) was not a crime of violence, finding that the witness retaliation

statute fulfilled that definition. 323 F.Supp.3d 1065 (E.D. Wisc. Aug. 3, 2018). This precise issue

was decided by that court prior to the petitioner’s plea of guilty. Additionally, the Seventh Circuit

has previously allowed at least one conviction under 18 U.S.C. § 924(c), based on § 1513(b), to

stand, although the precise issue was not raised on appeal. See United States v. Vaughn, 267 F.3d

653 (7th Cir. 2001); see also United States v. Calvert, 511 F.3d 1237 (9th Cir. 2008). Furthermore,

trial counsel states in his affidavit that he believes that attempting to retaliate against a witness is,

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in fact, a crime of violence, a position that has strong legal support and is advocated by the United

States herein. Brengle Affidavit (attached as Exhibit G). This Court should hold that trial counsel

was not ineffective for failing to challenge established legal precedent.

       Even assuming that defense counsel was not aware of the Harris decision, this would have

been a fairly novel legal argument, which has just recently gained traction in the Tenth Circuit

alone. The Seventh Circuit has stated:

       If, however, the argument that the lawyer fails to make is a subtle or esoteric one-
       something most lawyers would not have thought of, however conscientious they
       might be-then the lawyer cannot be said to have fallen below the minimum level of
       professional competence by failing to make it, and so the claim of ineffective
       assistance would fail even if the argument turned out to be a valid ground for a new
       trial. Criminal defendants have a right to a competent lawyer, but not to Clarence
       Darrow. See, e.g., Thomas v. Gilmore, 144 F.3d 513, 515 (7th Cir.1998); Wade v.
       Franzen, 678 F.2d 56, 58 (7th Cir.1982). A lawyer is not to be deemed incompetent
       merely for lacking the imagination “to anticipate arguments or appellate issues that
       only blossomed after defendant's trial and appeal have concluded,” Sherrill v.
       Hargett, 184 F.3d 1172, 1175 (10th Cir.1999), though the clever lawyer would have
       spotted the bud.

Rezin, 322 F.3d at 446-47. Even though defense counsel in other cases has raised this issue,

although rarely, there certainly is not a clear consensus that petitioner would have been entitled to

relief. Although “[i]gnorance of well-defined legal principles is nearly inexcusable,” “law is no

exact science” and “‘the rule that an attorney is not liable for an error of judgment on an unsettled

proposition of law is universally recognized.’” Smith v. Singletary, 170 F.3d 1051, 1054 (11th

Cir. 1999). See also United States v. Jones, 918 F.2d 9, 11-12 (2d Cir. 1990) (declining to find

ineffective assistance of counsel based on an “unsettled question of law”).

       Further, there were strong strategic reasons for advising the defendant to enter into the

ultimate plea agreement with the United States in this case, irrespective of this legal question. As

his plea counsel pointed out in his affidavit, even if he had pursued this argument, the length of

time for potential incarceration based on a conviction for all other counts outweighed any benefit

from dismissal of the relevant § 924(c) count. Brengle Affidavit (attached as Exhibit G). In fact,

his plea counsel assessed his likelihood of conviction on all other counts as “nearly certain.” Id.
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In the face of such odds, the decision to advise a client to plead guilty rather than pursue an

unsettled legal argument and thereby put plea negotiations at risk certainly cannot be viewed as

clearly unreasonable, particularly in light of the “highly deferential” standard in reviewing attorney

performance and strong presumption that counsel acted reasonably. 4

C.      Petitioner did not suffer any prejudice as a result of his trial counsel’s alleged deficiencies.

        Even if trial counsel’s performance was deficient, petitioner did not suffer any prejudice as

a result of the alleged deficiency. As an initial matter, Fenderson does not claim that he would not

have pled guilty if his counsel had challenged the applicability of 18 U.S.C. § 1513(b) to an

enhancement pursuant to 18 U.S.C. § 924(c). He also does not challenge the validity of his plea,

which the trial court determined that he entered knowingly and voluntarily. Plea Transcript, at 15

(Doc. 87) (attached as Exhibit E). During the course of that knowing and voluntary plea,

Fenderson admitted to all of the underlying conduct. In essence, although petitioner complains

about his trial counsel’s decision not to raise this novel and meritless argument, he does not allege

that he would not have entered a plea of guilty had trial counsel done so. Therefore, he has not

demonstrated that the result of his proceedings would have been any different.

        Furthermore, petitioner did not suffer any prejudice as a result of any alleged deficiency

because his underlying argument is meritless. First, § 1513(b) is a divisible statute, rendering the

modified categorical approach appropriate. Under that approach, the relevant documents make

clear that Fenderson committed a “crime of violence” under § 924(c). Even if this court finds that

§ 1513(b) is an indivisible statute and therefore applies the categorical approach, a conviction

under § 1513(b) still properly supports a conviction pursuant to § 924(c). Therefore, even if

counsel’s performance was deficient for failing to raise this argument, Fenderson was not




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  At the time of filing this Response, the Government has not yet received an affidavit from petitioner’s sentencing
counsel. To the extent that it may be helpful to the Court in resolving this issue, the Government will submit that
affidavit to the Court upon receipt from sentencing counsel.
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prejudiced by the allegedly deficient performance because his underlying argument is meritless.

For that reason, Fenderson’s petition should be denied.

       1.      The statute criminalizing retaliation against a witness, 18 U.S.C. § 1513(b)(2)
               is a divisible statute, requiring the modified categorical approach in
               determining whether it qualifies as a crime of violence for purposes of 18
               U.S.C. § 924(c)(1)(A).

       Fenderson argues that retaliation against a witness is not a “crime of violence” for purposes

of 18 U.S.C. § 924(c). Section 924(c)(1)(A) prohibits the use of a firearm “during and in relation

to any crime of violence.” Section 924(c)(3)(A) defines “crime of violence” to include any felony

that “has as an element the use, attempted use, or threatened use of physical force against the

person or property of another.” This prong of § 924(c) is known as the elements clause.

       The Supreme Court has set forth two methods for analyzing whether a conviction qualifies

as a “crime of violence” for purposes of enhancement pursuant to 18 U.S.C. § 924(c)(1)(A). Under

the “categorical approach,” a court generally may “look only to the fact of conviction and the

statutory definition of the prior offense.” Taylor v. United States, 495 U.S. 575, 602 (1990). This

approach applies if the statute “enumerates various factual means of committing a single element,”

rendering it “indivisible.” Mathis v. United States, 136 S. Ct. 2243, 2249 (2016). If the statute of

conviction lists elements in the alternative, however, rendering it “divisible,” the court may apply

the “modified categorical approach” and “look[] to a limited class of documents (for example, the

indictment, jury instructions, or plea agreement and colloquy) to determine what crime, with what

elements, [the] defendant was convicted of.” Id.; see Descamps v. United States, 570 U.S. 254,

260-65 (2013). When a statute criminalizes multiple acts, courts look to the least of the acts

criminalized to determine whether the crime fits within the definition of a “crime of violence”

under the categorical approach. Curtis Johnson v. United States, 559 U.S. 133, 137-38 (2010).

This type of determination requires “a realistic probability, not a theoretical possibility,” that the

crime can be committed in a way that falls outside the scope of the relevant “crime of violence”

definition. Gonzales v. Duenas-Alvarez, 549 U.S. 183, 193 (2007).
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       Section 1513(b)(2) applies to any person who “knowingly engages in any conduct and

thereby causes bodily injury to another person or damages the tangible property of another person,

or threatens to do so, with intent to retaliate against any person for any information relating to the

. . . possible commission of a Federal offense.” The Government submits that this statute is

divisible between “caus[ing] bodily injury” and “damag[ing] personal property,” as well as

between “threaten[ing] to” commit either offense.” A plain language reading of the statute

supports a finding that it is divisible. The statute uses the verb “causes” before the noun “bodily

injury” and uses a different verb, “damages,” before the term “tangible property,” implying that

the bodily-injury and property-damage variants have different elements, and thus are different

crimes. The “threatens to do so” phrase relates back to the bodily injury and property damage

offenses, which implies that threatening bodily harm and threatening to damage property are two

distinct threat crimes.

       The wording does not “resolve the issue” of divisibility because it does not authorize

different punishments for each type of injury. Mathis, 136 S. Ct. at 2256 (2016). However, the

statute also fails to use a “single umbrella term” or a list of “illustrative examples” that would

suggest that the two types of injury are merely alternative means of satisfying a single element.

Id. at 2256-57. Instead, it lists two alternative types of conduct, each using a different verb and

involving a different category of injury. Another district court within the Seventh Circuit has also

found that it is “more probable” that the modified categorical approach would be applicable to 18

U.S.C. § 1513(b) “because the statute defines three ways to commit witness retaliation, not three

means by which to satisfy one element of that offense.” Harris, 323 F.Supp.3d at 1070 (citing

Mathis, 136 S. Ct. at 2253).

       Moreover, the Second Superseding Indictment and Plea Agreement in this case refer only

to causing bodily injury and make no mention of property damage.               Second Superseding

Indictment (Crim. Doc. 45); Plea Agreement, at 2 (Doc. 65).             “[A]n indictment and jury

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instructions could indicate, by referencing one alternative term to the exclusion of all others, that

the statute contains a list of elements, each one of which goes toward a separate crime. Mathis,

136 S. Ct. at 2257. The Government routinely charges defendants with the bodily injury offense

alone, further supporting this argument. Several courts of appeals in those cases have held that the

elements of the offense are (1) knowing engagement in conduct that (2) causes or threatens to

cause bodily injury to another person, with (3) retaliatory intent. See United States v. Cofield, 11

F.3d 413, 419 (4th Cir. 1993); United States v. Gadson, 763 F.3d 1189, 1218 (9th Cir. 2014);

United States v. Henderson, 626 F.3d 326, 342 (6th Cir. 2010).

       The Fourth Circuit recently addressed this precise issue and agreed with the Government

that the witness retaliation statute is divisible. United States v. Allred, 2019 WL 5792489 (4th Cir.

2019). The Court explained,

       Section 1513(b)(1) easily divides into four separate general offenses: (1) engaging
       in conduct that causes bodily injury, (2) threatening to engage in conduct that
       causes bodily injury, (3) engaging in conduct that damages tangible property, and
       (4) threatening to engage in conduct that damages tangible property. Both the
       statute’s plain text and other typical indicia of divisibility make this conclusion
       inescapable.

Allred, 2019 WL 5792489 at 4. The court then went on to examine whether “the behavior

underlying one statutory phrase ‘differs so significantly from the behavior underlying’ another”

that they must treated as different crimes. Id. at 5 (citing Chambers v. United States, 555 U.S. 122,

126 (2009). In conducting this analysis, the Court held:

       Applying Chambers to the instant case, we have no trouble in concluding that §
       1513(b) sets forth alternative elements and thus creates separate crimes. Put simply,
       the behavior typically underlying the causation of bodily injury “differs so
       significantly” from that underlying damage to property that those statutory phrases
       cannot plausibly be considered alternative means. Chambers, 555 U.S. at 126. The
       former is concerned with conduct threatening bodily integrity and safety, while the
       latter deals only with damage to physical possessions. Congress’s decision to
       employ different verbs to characterize each of the proscribed harms (i.e., “causes”
       bodily injury versus “damages” tangible property) bolsters this conclusion.

Id. The Allred court further analyzed various model jury instructions that contemplate a jury being

instructed as to either bodily injury or damage to tangible property, not both, as support for this
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conclusion, along with the fact that the Government typically charges this offense under one prong

alone. Id. at 5-6. This court should adopt the same reasoning as the Allred court in determining

that 18 U.S.C. § 1513(b) is a divisible statute and thus subject to analysis using the modified

categorical approach.

       Because § 1513(b) is a divisible statute, this Court can look to supporting documents, such

as the Second Superseding Indictment and Plea Agreement, to determine the specific conduct

committed by Fenderson. The Superseding Indictment charges that Fenderson “did knowingly

engage in conduct that caused bodily injury to T.R., with the intent to retaliate against T.R., in that

Fenderson shot T.R. with a firearm believing that T.R. had given information to a law enforcement

officer relating to the commission or possible commission of a Federal offense.”               Second

Superseding Indictment (Crim. Doc. 45). Further, the elements listed in the Plea Agreement,

signed and agreed to by Fenderson, state, “1) The defendant knowingly caused bodily injury to

T.R.; and 2) The defendant did so with the intent to retaliate against T.R. for any information

relating to the possible commission of a federal offense given by T.R. to a law enforcement

officer.” Plea Agreement, at 2 (Doc. 65). These elements were further recited by the trial judge

and acknowledged by the defendant during his plea hearing. Plea Transcript, at 12 (Doc. 87). At

the time of his plea, Fenderson stipulated that after searching for and locating T.R., he and another

individual “began shooting at T.R., striking him in the hip and lower leg. . . . T.R. was taken to a

nearby hospital for treatment. The shot to T.R.’s lower leg broke both of the bones, requiring

multiple surgeries to repair.” Stipulation of Facts, at 3 (Doc. 66) (attached as Exhibit F). There is

no doubt that Fenderson entered a plea of guilty to the element of causing bodily injury, as opposed

to damaging tangible property. Furthermore, Fenderson does not even attempt to argue that

“causing bodily injury” is not sufficient for 18 U.S.C. § 924(c).

       Courts routinely hold that offenses such as robbery and assault, which require the infliction

or threatened infliction of bodily harm or injury, qualify as crimes of violence under the elements

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clause. See, e.g., De Leon Castellanos v. Holder, 652 F.3d 762, 766 (7th Cir. 2011) (a statute

requirement of any bodily injury comports with the ACCA force requirement as defined in Curtis

Johnson); United States v. Chapman, 866 F.3d 129 (3d Cir. 2017) (18 U.S.C. §§ 871(a) (mailing

a threat to harm the President) and 876(c) (mailing a threat to injure) are “crimes of violence”

under career offender guideline); United States v. Anderson, 695 F.3d 390, 401 (6th Cir. 2012)

(statute requirement of “physical harm” in aggravated assault statute is sufficient); United States

v. Vinton, 631 F.3d 476, 485-86 (8th Cir. 2011) (concluding that Missouri’s second-degree assault

statute, which “requires a showing that the defendant attempted to cause, or knowingly caused,

physical injury to another person,” has as an element the use or attempted use of physical force);

United States v. Forrest, 611 F.3d 908, 910-11 (8th Cir. 2010) (“A threat that creates a fear ‘of

imminent serious bodily injury’ is a threat of physical force.”); United States v. Calvillo-Palacios,

860 F.3d 1285, 1290-91 (9th Cir. 2017) (citing numerous consistent Ninth Circuit cases); United

States v. Williams, 888 F.3d 1126, 1132-33 (10th Cir. 2018) (requirement of bodily injury satisfies

the physical force requirement).

       Moreover, the degree of injury or harm required by the statute need not be significant.

“While mere touching is not enough to show physical force, the threshold is not a high one; a slap

in the face will suffice.” United States v. Duncan, 833 F.3d 751, 754 (7th Cir. 2016); see also

Curtis Johnson, 559 U.S. 133, 143 (2010) (holding that a “slap in the face” is sufficient physical

force under ACCA). Certainly, shooting the victim with a firearm, as Fenderson admitted to doing

in this case, is sufficient force to qualify as a “crime of violence.” Therefore, using the modified

categorical approach, Fenderson’s conviction under 18 U.S.C. § 1513(b)(2) was a valid predicate

offense for his conviction under 18 U.S.C. § 924(c)(1)(A).

       2.      Even if the statute is indivisible, rendering the categorical approach
               appropriate, 18 U.S.C. § 1513(b)(2) qualifies a crime of violence for purposes
               of 18 U.S.C. § 924(c)(1)(A).



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       Fenderson argues that the least of the acts criminalized by 18 U.S.C. § 1513(b)(2),

damaging the tangible property of another, does not satisfy the requirements to be classified as a

“crime of violence” for purposes of 18 U.S.C. § 924(c)(1)(A). As stated above, the elements clause

of that statute defines “crime of violence” to include any felony that “has as an element the use,

attempted use, or threatened use of physical force against the person or property of another.” 18

U.S.C. § 924(c)(3)(A). The question, then, is whether the requisite damage to property satisfies

the requirement of the use, attempted use, or threatened use of physical force to support a

conviction under § 924(c).

       The Supreme Court has never explicitly considered the definition of “physical force”

necessary under § 924(c)(3)(A). However, it has addressed the definition of “force” for purposes

of the Armed Career Criminal Act, 18 U.S.C. § 924(e)(2)(B)(i). The ACCA’s elements clause is

worded similarly to the elements clause in § 924(c)(3)(A) except that it only addresses force

against a “person” as opposed to a person or “property.” In Curtis Johnson, the Supreme Court

held that “physical force” does not include “the slightest offensive touching.” Curtis Johnson, 559

U.S. at 139. The Court has further held that “physical force” does include force that goes beyond

mere touching, and that any force with the “potentiality” of causing “physical pain or injury” would

suffice. Stokeling v. United States, 139 S. Ct. 544, 554 (2019). The Stokeling Court expressly

rejected the theory that “the level of force must be ‘severe,’ ‘extreme,’ ‘furious,’ or ‘vehement.’”

Id. at 553. Both the Curtis Johnson and Stokeling opinions involved the use of force against the

person, but the same logic applies to the use of force against property. Under Curtis Johnson,

therefore, the slightest touching of property—such as trespass—would not qualify as a crime of

violence. However, under Stokeling, force that has even the potentiality of causing damage to the

property would suffice.      Therefore, retaliation against a witness through property damage

constitutes a crime of violence because it requires force sufficient to cause damage to property.



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         Thus, this Court should interpret the “physical force” required under the elements clause

of § 924(c) as force capable of causing physical pain or injury. With respect to property, “injury”

would refer to any harm or damage. This position is consistent with the Second Circuit and the

district court for the District of Columbia. In United States v. Hill, the Second Circuit addressed

the question of whether a Hobbs Act robbery failed to qualify as a crime of violence under § 924(c)

because it could be committed by “putting [the victim] in fear of injury to his property through

non-forceful means.” 890 F.3d 51, 57 (2d Cir. 2018). In Hill, the defendant created several

hypothetical situations that could place a victim in fear of injury to his property without the threat

of any force, such as “threatening to throw paint on the victim’s house, to spray paint his car, or,

most colorfully, to ‘pour[] chocolate syrup on his passport.’” Id. The Court rejected the

defendant’s arguments and noted that the “physical force” required by § 924(c) “means no more

nor less than force capable of causing physical pain or injury to a person or injury to property.”

Id. at 58. Thus, the Second Circuit held that the defendant’s hypotheticals involve the use or

threatened use of physical force because they put the victim in “fear of injury” to his or her

property. Id.

         Furthermore, in United States v. Abu Khatallah, the district court for the District of

Columbia analyzed whether another statute, 18 U.S.C. § 1363, involved “the use, attempted use,

or threatened use of physical force against the person or property of another” sufficient to support

a § 924(c) conviction. 5 316 F.Supp.3d 207 (D.D.C. June 26, 2018). The court framed the issue as

“whether a defendant’s injuring, attempting to injure, or conspiring to injure federal property

necessarily means that he used, attempted, or threatened force against that property.” Id. at 213.

The court explained that Curtis Johnson’s “definition of physical force simply requires that all of



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 18 U.S.C. § 1363 provides: “Whoever, within the special maritime and territorial jurisdiction of the United States,
willfully and maliciously destroys or injures any structure, conveyance, or other real or personal property, or
attempts or conspires to do such an act, shall be fined under this title or imprisoned not more than five years, or both,
and if the building be a dwelling, or the life of any person be placed in jeopardy, shall be fined under this title or
imprisoned not more than twenty years, or both.”
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the prohibited acts involve ‘force capable of causing physical injury.’” Id. at 215. The Court

contrasted actions such as tarring a courthouse or breaking a sprinkler–which are not “particularly

brutal” but require “force capable of causing physical injury”–with a de minimis intrusion–“like a

trespassory but otherwise harmless touch.” Id. The court ultimately concluded that “a crime like

§ 1363—which has as an element the intentional injury of property—categorically requires that

the defendant use force capable of causing injury to that property.” Id.

       These opinions are further supported by analogizing the crime at issue in this case to Hobbs

Act robbery. The Seventh Circuit has held that Hobbs Act robbery is a “crime of violence” under

the elements clause of § 924(c), which applies to the use of force against “the person or property

of another.” United States v. Fox, 878 F.3d 574, 579 (7th Cir. 2017). The Seventh Circuit cited

support for this position by many other circuits. See United States v. Gooch, 850 F.3d 285, 292

(6th Cir. 2017); United States v. Hill, 832 F.3d 135, 140-44 (2d Cir. 2016); In re St. Fleur, 824

F.3d 1337, 1340 (11th Cir. 2016); United States v. Howard, 650 Fed.Appx. 466, 468 (9th Cir.

2016). The same reasoning dictates that § 1513(b) qualifies as a crime of violence under §

924(c)(3)(A); like Hobbs Act robbery, it can be committed by using force against property, which

is explicitly contemplated by § 924(c)(3)(A).

       Other applications of this definition of “physical force” further support its applicability to

§ 1513(b)(2). In Castleman, the Supreme Court clarified that force “encompasses even its indirect

application,” such as “‘administering a poison or by infecting with a disease, or even by resort to

some intangible substance,’ such as a laser beam.” United States v. Castleman, 572 U.S. 157

(2014). In analyzing the defendant’s hypothetical situation of sprinkling poison in a victim’s drink,

the Court explained:

       The “use of force” in Castleman’s example is not the act of “sprinkl[ing]” the
       poison; it is the act of employing poison knowingly as a device to cause physical
       harm. That the harm occurs indirectly, rather than directly (with a kick of punch),
       does not matter. Under Castleman’s logic, after all, one could say that pulling the
       trigger on a gun is not a “use of force” because it is the bullet, not the trigger, that
       actually strikes the victim.
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Id. at 171.

        Using this same logic, a recent dissenting opinion in United States v. Bowen utilized the

same reasoning in arguing that § 1513(b) qualifies as a “crime of violence.” 936 F.3d 1091, 1117

(McHugh, dissenting). This dissenting opinion provides a persuasive analogy, supported by

Castleman and Curtis Johnson:

        In my view, then, a threat to “damage[] the tangible property of another person,”
        18 U.S.C. § 1513(b), is a crime of violence because it is a threat to use physical
        force capable of causing injury against the property of another. 18 U.S.C. §
        924(c)(3)(A). As a result, I would hold that a threat to spray paint someone’s car,
        to place their electronic devices in water, or to otherwise damage their property are
        crimes of violence. And whether the actor gently places the electronic device in a
        full bathtub or violently slams it into the water from atop the toilet is irrelevant. In
        either case, the “violence” is the damage to the property. Consequently, I would
        also conclude that retaliation against a witness is a crime of violence under § 924(c)
        ....

Id.

        The majority in Bowen disagreed that § 1513(b) is a “crime of violence” under § 924(c).

The Bowen court rejected the definition of “physical force” as “force sufficient to cause damage

to property” because it believed that the force needed to damage property would not necessarily

rise to the level of “violent” force. Bowen, 936 F.3d at 1103-04. However, this court should not

follow the flawed reasoning of the majority in Bowen. The statute, § 924(c), does not use the term

“violent force;” it only refers to “physical force.” In Curtis Johnson, the Court did define “physical

force” as “violent” force. Curtis Johnson, 559 U.S. at 140. However, the Court clarified that

statement in Stokeling by refusing to read Curtis Johnson as establishing a “high” threshold for

force and defining “violence” at one point as “unjust or improper force.” Stokeling, 139 S. Ct. at

553. The Bowen court suggested that Stokeling had defined “physical force” as force that is

“inherently violent.” Bowen, 936 F.3d at 1106-07. But Stokeling did no such thing; the Court

simply observed that the force involved in the crime at issue in that case (robbery) was “inherently



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violent.” Stokeling, 139 S. Ct. at 553. The Court did not create a new test requiring inherent

violence.

       The Bowen court next emphasized that Curtis Johnson and Stokeling both involved a

statute, § 924(e), that refers to the use of physical force against a person, while the statute at issue

here, § 924(c), refers to the use of physical force against a person or property. Bowen, 936 F.3d at

1106-07. That argument is unpersuasive. It makes little sense to rely upon Curtis Johnson and

Stokeling to hold that force must be “violent” to qualify as “physical force” under § 924(c), but

then to turn around and discard Johnson and Stokeling when figuring out what “violent” means.

       Finally, the Bowen court observed that under the government’s legal theory, a person could

commit a crime of violence by spray painting a car or pouring chocolate on someone’s passport,

borrowing the hypotheticals from Hill. Bowen, 936 F.3d at 1107. The court was correct that the

government’s legal theory could, in principle, lead to those results. As a textual matter, however,

the acts described do involve the use of physical force against the property of another. Moreover,

these situations are unlikely to arise in practice. A crime qualifies as a “crime of violence” only if

it is a felony, and spray painting a car, for example, is unlikely to be prosecuted as a felony. In

addition, § 924(c) applies only where someone uses a firearm during and in relation to the crime,

and it is difficult to envision a case in which someone uses a firearm during and in relation to a

trivial offense such as pouring chocolate syrup on a passport.

       In the context of § 924(c), “physical force” should be understood qualitatively, not

quantitatively. A particular amount of force may qualify in one context but not another. For

example, in Stokeling, the Court agreed that “the amount of force necessary to overcome a victim’s

resistance” meets the definition of “physical force” for purposes of the ACCA, even if that

resistance is slight. Stokeling, 139 S. Ct. at 555. In doing so, the Court seemed to recognize that

the use of force is contextual. Force necessary to overcome resistance differs “in kind,” even if

not in pure physical degree, from “unwanted” touching. Id. at 553. In this case, similar contextual

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principles suggest that because § 1513(b) requires “damage” to property, it satisfies the elements

clause of § 924(c)(3)(A). Property is reasonably viewed to be “damage[d]” when it is defaced, by

whatever means. Such “damage” could reasonably be viewed as a form of the “injury” that the

“physical force” must be capable of causing. Because the statute requires proof of a knowing act

that in fact caused such damage, it is reasonable to infer that every violation of § 1513(b) inherently

includes what would be, in context, the use, attempt, or threat of force.

        Because § 1513(b) satisfies the requirements of “physical force” set forth in § 924(c)(3)(A),

it qualifies as a “crime of violence” for purposes of § 924(c)(1)(A). Therefore, Fenderson is not

entitled to relief even under the categorical approach. This argument has no merit and Petitioner

therefore did not suffer any prejudice as a result of his attorney’s failure to raise it. For that reason,

his petition should be denied.

                                           CONCLUSION

        Based on the foregoing, the Government respectfully requests that this Honorable Court

deny Petitioner’s Motion in its entirety without an evidentiary hearing.


                                                    Respectfully submitted,

                                                    THE UNITED STATES OF AMERICA

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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

TEREZE L. FENDERSON,                           )
                                               )
                   Petitioner,                 )
                                               )
vs.                                            )   CIVIL NO. 19-CV-1025-NJR
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
                   Respondent.                 )

                                   CERTIFICATE OF SERVICE

I hereby certify that on November 25, 2019, I electronically filed the following document:
GOVERNMENT’S RESPONSE TO PETITIONER’S MOTION TO VACATE, SET ASIDE, OR
CORRECT SENTENCE PURSUANT TO 28 U.S.C. SECTION 2255 with the Clerk of Court
using the CM/ECF system, which will send notification of such filing(s) to the following:

None

and I hereby certify that on November 25, 2019, I mailed the document(s) to the following non-
registered participants:

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